
PER CURIAM.
This cause having been orally argued before the Court, the briefs and record on appeal having been read and given full consideration, and the appellant having failed to demonstrate reversible error, the order of the lower court appealed from herein is affirmed. See Phillippi v. Phillippi, 148 Fla. 393, 4 So.2d 465 (1941); James v. James, 84 So.2d 914 (Fla.1956); Horner v. *542Horner, 222 So.2d 791 (Fla.App.1969); 6 A.L.R.2d 856; 27A C.J.S. Divorce § 239 e, p. 1149.
SPECTOR, C. J., and WIGGÍNTON and CARROLL, DONALD K., JJ., concur.
